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                    EXHIBIT 14
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        CONFIDENTIAUATJ'ORNEY·CLIENT i'RIVILEGED COMMUNICATION/ATI'ORNEY WORK PRODUCT
        FOR SOLE USE OF THE EASTERN DISTRICT COURT OF LOUISIANA IN RE: OIL SPILL 8 I' Tfl£ OIL RIG
          "DEEPW,tTE/1 HORIZON" IN 711£ GULF OF MEXICO ON ,rPRIL 20, 2010. 10-M 1).2179 ("MOI.r2179")


                     Deepwater Horizon Court Supervised Settlement Program ("CSSP")
                          Special Master -lndepende1t External Investigation
                                    Interview Report of Freeh Group

  Interviewee: Rebecca Jenkins, A.K.A "Rebecca Foreman"
  Title: Executive Assistant to Pat Juneau
  Office: DHECC
  Date/Time: 7/17/2013
  Attendees: Greg Paw, Matt Dolan, Alex Dubin
  Location: 935 Gravier St, New Orleans, LA 70112

  These notes are prepared as part of an Independent E>ternallnvestigation for t he Eastern District Court
  of louisiana IN RE: OIL SPILL BY THE OIL RIG "DEEPWA1ER HORIZON" IN THE GULF OF MEXICO ON APRIL
  20, 2010, 10·MD·2179 ("MDL-2179"). Our role as Special Master is limited to performing an
  independent external investigation related to ensuring the integrity of the CSSP program for the benefit
  of t he parties and the public and to perform fact finding as to possible ethical v iolations or other
  misconduct within the CSSP. We are also examining and evaluating the internal compliance program
  and anti-corruption controls w ithin the CSSP, and making any necessary recommendations to design and
  to implement additional such controls, policies, procedures, and practices to ensure the integrity of the
  CSSP. We do not represent you Rebecca Jenkins.

  On the above date and times Rebecca Jenkins was interviewed in person. We explained that Information
  provided in this Interview would become part of t he in•Jestigation record and could be reported to the
  District Court, the Plaintiff Steering Committee, British Petroleum, and potentially to third parties.




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            FOR SOLE USE OF T i ll! !!.ASTERN DISTRICT COURT 01' LOUISIANA IN RF.: 011. SPILL 8!' THE OIL RIG
              "DEEPWATeR HORIZON" IN THE (jljU" OP MEXICO ON AI'R/l. 20, 1010, 10-MI)-2 179 ("MDL-2179")




     W hen asked, Ms. Jenkins stated that people are constantly calling to check in on claims. When she
     would receive these calls, she would then email Jennifer Goodwin at BrownGreer to det ermine the
     status of the claim, and then inform the claimant, and l;h, Sutton or Mr. Patrick Juneau.

     Ms . Jenkins stated that the claims process "gets held up" at BrownGreer, adding that "things (at BG]
     have a tendency to sit sometimes." She said that M s. Goodwin tends to fix things pretty quickly, once
     she is informed of the issue. Ms. Jenkins spoke about how much crossover there was between the CAO
     and BP, and she responded that therP w~< " lnt< nf rros1over at the beeinnine w hen they (BP) were
     here.''"




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        FOR SOUl USE OF THE EASTERN DISTRICT COURT OF LOUISIANA IN Re: OIL SPILL Bl' nl/i OIL 11/G
          " [)EfiPWATf.R NOIII(.ON " IN Tl·l/i GU/.1' OF Mt;XJCQ ON API/II. 20, 2010, IO·MD-2 179 ("MDI..-2 179'')




  * The notes are not intended as a verbatim transcriptio~ of the meeting, but rather as a summary of
  major matters discussed. Quotes reflect an effort to c<pture exact words or phrases used during the
  meeting but are not intended as a verbatim transcription. These notes also contain mental impressions
  and observations and relay how the discussion during the meeting may impact other open legal issues
  for the Special Master Investigative Team. These no tel also may be shared with t he members of the
  Special Master Investigative Team to aid in execution of their functions and responsibilities, and as such
  are a communication between legal counsel and client . These notes are privileged as both an attorney-
  client commun ication and as attorney work product.




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